              IN THE UNITED STATES DISTRICT COURT FOR THE
                     EASTERN DISTRICT OF TENNESSEE
                              AT KNOXVILLE




 UNITED STATES OF AMERICA                     )
                                              )
 v.                                           )       No. 3:05-CR-124
                                              )
 KENNETH BRIDGES                              )


                          MEMORANDUM AND ORDER


             This criminal case is before the court on the motion of defendant

 Kenneth Bridges for dismissal of Count Two of the superseding indictment based

 on the five-year statute of limitations [doc. 141]. The government has responded

 [doc. 142], and the motion is ripe for the court’s consideration. For the reasons

 discussed below, the motion will be granted.

             Since the court finds that it is the procedural history of the charges

 against the defendant which compels the result, it will be necessary to set out the

 background of the charges in some detail. On February 1, 2005, the grand jury

 returned a two-count indictment against a single defendant, Kenneth Bridges

 (case no. 3:05-cr-09). Count One of the indictment charged a drug trafficking

 offense which allegedly occurred on April 6, 2000. Count Two charged a second

 drug trafficking offense which allegedly occurred on June 21, 2001. The

 government moved for an order sealing the indictment, which was granted,




Case 3:05-cr-00124-RLJ-HBG     Document 164       Filed 12/19/06   Page 1 of 5   PageID
                                      #: 57
 contending that the defendant was “at large” and that notice could enable him to

 elude authorities.

              The indictment in case no. 3:05-cr-09 remained under seal until

 February 2, 2006, and the defendant made his initial appearance on the charges

 on February 14, 2006. On May 3, 2006, the government moved for dismissal of

 the charges against the defendant, which was granted on May 8, 2006.

              In the meantime, on October 12, 2005, the grand jury had returned a

 five-count indictment against six defendants alleging various drug trafficking

 offenses (case no. 3:05-cr-124). Defendant Bridges was not named in this

 indictment, either in the conspiracy count or any of the substantive counts. The

 defendants were arrested, a trial date was set, discovery began, and one of the

 defendants pled guilty. On May 2, 2006, the grand jury returned a “Superseding

 Indictment” in case no. 3:05-cr-124 [doc. 84], which included defendant Bridges

 as a named conspirator and added the exact same substantive counts (Counts

 Two and Three) from case no. 3:05-cr-09. It is Count Two of this superseding

 indictment that the defendant seeks to have dismissed.

              Section 3282 of Title 18, United States Code, provides:

              Except as otherwise expressly provided by law, no
              person shall be prosecuted, tried, or punished for any
              offense, not capital, unless the indictment is found or the
              information is instituted within five years next after such
              offense shall have been committed.




                                           2


Case 3:05-cr-00124-RLJ-HBG     Document 164      Filed 12/19/06   Page 2 of 5     PageID
                                      #: 58
 Pursuant to this statute, an indictment alleging an offense that occurred on April

 6, 2000, must have been filed no later than April 6, 2005. The indictment in case

 no. 3:05-cr-09 meets this criterion – it was filed on February 1, 2005, slightly less

 than five years from the alleged offense. “Once an indictment is brought, the

 statute of limitations does not further run as to the charges in that indictment.”

 United States v. Smith, 197 F.3d 225, 227 (6th Cir. 1999). Thus, the filing of the

 indictment tolled the limitations period for the offense.

              However, in this case, two things occurred which affected the status

 of this count. First, the indictment was sealed for a year after it was returned by

 the grand jury. In the Sixth Circuit, a timely filed and sealed indictment may be

 opened after the statute of limitations has expired if (1) the indictment was

 properly sealed and (2) if the defendant has not been actually prejudiced by the

 delay in opening the indictment. See United States v. Wright, 343 F.3d 849, 857

 (6th Cir. 2003). In this case, the defendant questions the sealing of the

 indictment, arguing that there were no legitimate grounds for keeping the

 indictment under seal for a year, but he makes no claim that he was actually

 prejudiced by keeping the indictment under seal. Thus, the defendant’s argument

 on this basis must fail.

              The second occurrence was the filing of the superseding indictment

 in case no. 3:05-cr-124. The defendant argues that the superseding indictment

 was, in fact, a new cause of action against the defendant, and the statute of

                                            3


Case 3:05-cr-00124-RLJ-HBG      Document 164      Filed 12/19/06   Page 3 of 5   PageID
                                       #: 59
 limitations had expired on the April 6, 2000 offense by the time the new charges

 were filed (February 2, 2006). In response, the government contends that the

 superseding indictment “relates back” to the timely filing of the indictment in case

 no. 3:05-cr-09. The government also argues that the April 6, 2000 offense was

 an overt act within the time frame of the conspiracy.

              A superseding indictment will relate back to the original indictment

 for statute of limitations purposes if the first indictment is still validly pending and

 “if, and only if,” the superseding indictment does not broaden the charges. Smith,

 197 F.3d at 228. The question in this case is whether the superseding indictment

 in case no. 3:05-cr-124 is a “true” superseding indictment. The court finds that it

 is not as to defendant Bridges.

              Surprisingly, there is little guidance as to exactly what a superseding

 indictment is. The Supreme Court has defined a superseding indictment as “a

 second indictment issued in the absence of a dismissal of the first.” United

 States v. Rojas-Contreras, 474 U.S. 231, 237 (1985) (Blackmun, J., concurring).

 The cases discussing statutes of limitations in the context of superseding

 indictments, however, all presume that the superseding indictment was returned

 in the same case. See, e.g., Smith, 197 F.3d at 227-28; United States v. Grady,

 544 F.2d 598, 601-02 (2d Cir. 1976); United States v. Lytle, 677 F. Supp. 1370,

 1376 (N.D. Ill. 1988).




                                             4


Case 3:05-cr-00124-RLJ-HBG       Document 164      Filed 12/19/06    Page 4 of 5    PageID
                                        #: 60
             The superseding indictment adding the charges against defendant

 Bridges in this case was brought in an entirely different case, and as to defendant

 Bridges, the charges were essentially new rather than a continuation of the

 original charges. Because they were new charges, the five-year statute of

 limitations applies. While the conspiracy count and Count Three were filed within

 the limitations period, Count Two was not. The statute of limitations expired as to

 Count Two on April 6, 2005, well before the charge was added to the superseding

 indictment in case no. 3:05-cr-124.

             As to the government’s argument that the offense conduct alleged in

 Count Two is an overt act of the conspiracy, that very well might be, but each

 charge has to meet the statute of limitations on its own. Count Two must be

 dismissed since it was not charged within the five-year limitations period.

             For these reasons, it is hereby ORDERED that the defendant’s

 motion to dismiss Count Two of the superseding indictment in this case is

 GRANTED.



                                              ENTER:



                                                     s/ Leon Jordan
                                              United States District Judge




                                          5


Case 3:05-cr-00124-RLJ-HBG     Document 164     Filed 12/19/06   Page 5 of 5   PageID
                                      #: 61
